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             IN THE UNITED STATES DISTRICT COURT
                EASTERN DISTRICT OF ARKANSAS
                      WESTERN DIVISION


UNITED STATES OF AMERICA                                          PLAINTIFF

v.                         No. 4:12-cr-55-DPM-12

ROARIE GIBSON                                                 DEFENDANT

                                  ORDER

     About five months ago, this Court entered a Preliminary Order of

Forfeiture ordering Gibson to forfeit his interest in one Smith and Wesson .40

caliber pistol, serial number PBY9243 and all ammunition seized on 30
                    '
October 2011. The Order provided that it would become final as to Gibson at

sentencing and would become a final order of forfeiture if no third party filed

a timely claim to the property. The Court has sentenced Gibson and no one

has filed a claim to the property. The Preliminary Order has therefore ripened

into a Final Order of Forfeiture as to all persons. The Court confirms the

United States' sole and clear title to the gun and ammunition and authorizes

the U.S. Marshal (or his designee) to dispose of the property according to law.

      So Ordered.


                                          D.P. Marshall Jr.
                                          United States District Judge
